Case 1:24-cv-07951-NCM-TAM            Document 13        Filed 12/19/24    Page 1 of 3 PageID #: 85




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  _____________________________________
  In the Matter of L.C.               )
                                      )
  SEBASTIAN CORREA MORALES            )                         Case No. 1:24-cv-07951
                                      )
                        Petitioner,   )                         STIPULATED SCHEDULING
                                      )                         ORDER
  vs.                                 )
                                      )
  JULIANA ESCOBAR RESTREPO,           )
                                      )
                        Respondent.   )
  ____________________________________)

  The Convention on the Civil Aspects of International Child Abduction, done at The Hague
  on October 25, 1980; International Child Abduction Remedies Act, 22 U.S.C. 9001 et seq.

         Before the Court is the Verified Petition for the Return of the Child to Colombia (the

  “Petition”) filed by the Petitioner, Sebastian Correa Morales (the “Petitioner”), against the

  Respondent, Juliana Escobar Restrepo (the “Respondent”) pursuant to The Hague Convention on

  the Civil Aspects of International Child Abduction and the International Child Abduction

  Remedies Act (“ICARA”) [ECF No. 1]. Upon the consent of both parties, as evidenced by the

  signatures of their respective counsel below, it is hereby:

         1.      ORDERED, that the parties shall serve their Initial Disclosures pursuant to Federal

                 Rules of Civil Procedure 26(a)(1) no later than December 26, 2024; and it is further

         2.      ORDERED, that the parties serve limited discovery demands no later than

                 December 28, 2024, with discovery responses no later than January 6, 2025; and it

                 is further

         3.      ORDERED, that the parties shall exchange Initial Expert Disclosures no later than

                 December 28, 2024; and it is further
Case 1:24-cv-07951-NCM-TAM          Document 13        Filed 12/19/24      Page 2 of 3 PageID #: 86




        4.     ORDERED, that the parties shall provide full and complete Rebuttal Expert

               Reports no later than January 8, 2025; and it is further

        5.     ORDERED, that the parties shall exchange Proposed Exhibits, Exhibit list and

               Witness list by January 9, 2025; and it is further

        6.     ORDERED, that the parties shall each file Pretrial Proposed Findings of Fact and

               Conclusions of Law by January 10, 2025; and it is further

        7.     ORDERED, that the parties shall each submit to the Court their Proposed Exhibits,

               Exhibit list and Witness list no later than January 10, 2025; and it is further

        8.     ORDERED, that a two-day evidentiary hearing be held on the Petition on January

               14 and 15, 2025, January 17 and 21, 2025, or January 21 and 22, 2025.



  DATED at __: __ this __ day of December, 2024.




                                                 BY THE COURT:



                                                 _____________________________________
                                                 Natasha C. Merle
                                                 United States District Judge


  SEEN AND APPROVED AS TO FORM AND CONTENT:


  By: /s/ Richard Min                                                 By: /s/ Edgar L. Fankbonner
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Case 1:24-cv-07951-NCM-TAM   Document 13   Filed 12/19/24   Page 3 of 3 PageID #: 87




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  Sebastian Correa Morales                             Juliana Escobar Restrepo
